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                              UNITED STATES DISTRICT COURT
 6
                                     DISTRICT OF NEVADA
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 8   BRICK P. HOUSTON,
                                                        Case No. 2:20-cv-00650-RFB-NJK
 9          Plaintiff(s),
                                                                     ORDER
10   v.
                                                                 [Docket No. 35]
11   MENDOZA, et al.,
12          Defendant(s).
13        Pending before the Court is Defendants’ motion related to various discovery matters,
14 including a request for $4,322.80 in monetary sanctions. Docket No. 35. To date, Plaintiff has
15 not responded. Accordingly, the Court hereby ORDERS Plaintiff to respond to this motion by
16 November 5, 2021.
17        IT IS SO ORDERED.
18        Dated: October 27, 2021
19                                                           ______________________________
                                                             Nancy J. Koppe
20                                                           United States Magistrate Judge
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